      Case: 3:07-cr-00154-WAP-SAA Doc #: 83 Filed: 04/28/08 1 of 1 PageID #: 220




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                              CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD and SHEILA
AL-SANABANI,                                                                    DEFENDANTS.

                                                ORDER

          These matters come before the court upon Defendant Ali Obad’s First and Second Motion

for Bill of Particulars [55, 59]. After due consideration of the motions, the court finds as follows,

to-wit:

          The instant motions for bill of particulars were filed with regard to the original Indictment.

That Indictment has been dismissed and a Superceding Indictment has been filed. Accordingly, the

instant motions should be dismissed as moot. However, the defendants are free to re-file their motion

with specific regard to the Superceding Indictment.

          IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Ali Obad’s First and

Second Motion for Bill of Particulars [55, 59] are DISMISSED AS MOOT.

          SO ORDERED this the 28th day of April, A.D., 2008.


                                                        /s/ W. Allen Pepper, Jr.
                                                        W. ALLEN PEPPER, JR.
                                                        UNITED STATES DISTRICT JUDGE
